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                     UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MINNESOTA
______________________________________________________________________________

In re:                                                                        BKY No. 17-41184

Ruby Red Dentata, LLC

             Debtor.
______________________________________________________________________________

        NOTICE OF HEARING AND AMENDED MOTION FOR AN ORDER
     AUTHORIZING SALE OF PROPERTY FREE AND CLEAR OF INTERESTS
______________________________________________________________________________

To:      Parties specified in Local Rule 9013-3.

         1.     Randall L. Seaver, the duly-appointed Chapter 7 Trustee in the above-referenced

bankruptcy case ("Trustee"), moves the Court for the relief requested below and gives notice of

hearing.

         2.     The Trustee files this amended motion to modify certain terms of the sale agreement

described in the Notice of Hearing and Motion for an Order Authorizing Sale of Property Free and

Clear of Interests, filed on September 3, 2019 (Doc. 233).

         3.     The Court will hold a hearing on this amended motion at 11:00 a.m. on October

1, 2019, before the Honorable William J. Fisher, Courtroom 2B, U.S. Courthouse, 316 North

Robert Street, St. Paul, Minnesota 55101.

         4.     Any response to this motion must be filed and served by delivery not later than

Thursday, September 27, 2019 which is five days before the time set for the hearing (including

Saturdays, Sundays and holidays). UNLESS A RESPONSE OPPOSING THE MOTION IS

TIMELY FILED, THE COURT MAY GRANT THE MOTION WITHOUT A HEARING.

         5.     This Court has jurisdiction over this motion pursuant to 28 U.S.C. §§ 157 and 1334,



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Rule 5005 of the Federal Rules of Bankruptcy Procedure, and Local Rules 1070-1 and 1073-1.

This is a core proceeding. The Debtor filed a voluntary Chapter 11 Petition on April 24, 2017, and

on September 11, 2018, the case was converted to a Chapter 7.

       6.       This Motion arises under 11 U.S.C. §§ 363(b) and 365, Federal Rules of

Bankruptcy Procedure 2002, 6004, 6006 and 9019, and Local Rule 6004-1.

                                      REQUESTED RELIEF

       7.       The Bankruptcy Estate is currently the owner of real property located at 20 North

Fourth Street, 327 1st Avenue North and 28 North 4th Street, Minneapolis, MN 55401, legally

described as follows:

       Lots 10, 11, and 12, Auditor’s Subdivision No. 152, Hennepin County, Minnesota

(the “Real Property”). The Real Property consists of two commercial buildings.

       8.       The Trustee seeks authorization to sell the bankruptcy estate’s interest in the Real

Property, and the contents thereof, to North Fourth Minneapolis, LLC, a Minnesota Limited

Liability Company (the “Buyer”) for the sale price of $37,500. The Trustee has entered into, or

will enter into, a commercial purchase agreement with the Buyer in the form attached hereto as

Exhibit A.

       9.       The proposed sale also includes the bankruptcy estate’s interests in the following:

             a. All of the personal property including furniture, fixtures and equipment, supplies,
                materials and inventory, and HVAC components and systems that are not otherwise
                fixtures;

             b. Together with all of the bankruptcy estate’s rights claims and interests in the
                following leases and causes of action:
                   i.  That certain lease agreement, and all of the lessor’s rights claims, interests
                       and demands under the lease dated January 2, 2018, between Ruby Red
                       Dentata, LLC, as landlord and Brewer Nelson Entertainment, LLC, as tenant;
                       and including the lease guarantee by Ms. Freedom Brewer, and;

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                   ii.   That certain lease agreement, and all of the lessor’s rights claims, interests
                         and demands under the lease dated September 18, 2015, between Ruby Red
                         Dentata, LLC, as landlord and D12 Ventures, LLC. , as tenant; and including
                         the lease guarantee by Mitchell E. Spargur and the related rights and claims
                         of the plaintiff in Hennepin County District Court File No.: 27-CV-16-15530,
                         in the matter of Ruby Red Dentata, LLC v. Mitchell E. Spargur and D12
                         Ventures, LLC, Filed October 21, 2016; and

                  iii.   That certain lease agreement, and all of the lessor’s rights claims, interests
                         and demands under the lease dated March 8, 2009, between Ruby Red
                         Dentata, LLC, as landlord and Salemh Investment, Inc. dba Happy Days
                         Market, as tenant; and including the lease guarantee by Mr. Gamal Hamed
                         and the related rights and claims of the plaintiff in Hennepin County District
                         Court File No.: 27-CV-16-17113, in the matter of Ruby Red Dentata, LLC.
                         V. Gamal Hamed and Salemh Investment, Inc. filed November 23, 2016

        10.      The Trustee seeks authorization to sell and transfer the Bankruptcy Estate’s

interest, right and title to the Real Property free and clear of the following interests to the full

extent permissible under 11 U.S.C. § 363(f):

              a. All rights, claims and interests of Mr. Roman Gadaskin arising out of original
                 Purchase Agreement dated March 29, 2018, and as agreed to by Addendum to
                 Commercial Purchase Agreement and Counter Offer dated April 26, 2018 and
                 Buyer executed as at April 30, 2018, as buyer of the Property, and;

              b. All rights, claims and interests of Common Ground Real Estate Investors, LLC and
                 3121 North Racine, LLC and Mr. Brandon Karow and Mr. Jeffrey A. Dow, arising
                 out of a purchase agreement dated August 2, 2018, for the portion of the Property
                 located at 20-22 North 4th Street, Minneapolis, MN 55401, legally described as Lot
                 12, Auditor’s Subdivision No. 152, Hennepin County, Minnesota, Torrens
                 Property, but not including 327 1st Avenue North.

        11.      The interests of the parties described in paragraph 10 above are no longer

enforceable against the bankruptcy estate or the real property as those contract rights have

expired or lapsed due to non-performance and the trustee does not believe the parties have any

legal interest in the real property as of the date this motion is filed.




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        12.    With the exception of the interests identified at paragraph 10a and 10b, the

proposed sale shall transfer the property subject to all other liens or encumbrances, including but

not limited to the following encumbrances of record:

      Type of Lien               Date File       Amount           In Favor Of
   a. Mortgage                   4/5/2007        $400,000         Harvest Bank f/k/a State Bank
                                                                  of Kimball
   b. Corrective Mortgage        9/25/2009       $359,000         Toby B. Brill (correcting Doc.
                                                                  # T4689000)
   c.   Attorney Lien            12/10/2009      $22,990.45       Saliterman & Siefferman, P.C.
   d.   Mechanic Lien            3/22/2012       $8,322.00        Sternberg Electric Service, Inc.
   e.   Attorney Lien            9/10/2012       $7,378.30        Arthur D. Walsh
   f.   Judgment                 02/02/2015      $5,660.50        Nickolaus Mulcahy
   g.   Judgment                 6/30/2016       $11,382.04       Arthur D. Walsh
   h.   Judgment                 11/02/2016      $3,750.00        Asa-Azriel F. Rice


        13.    The Buyer agrees to accept the Real Property subject to any outstanding real estate

taxes. The Estate has agreed to pay the deed tax required by Minnesota Statutes Chapter 287 for

the filing of the Trustee’s Quit Claim Deed.

        14.    The parties have also agreed that the bankruptcy estate is responsible for the

expense of the insurance the Trustee has placed on the Real Property through the closing date,

after which the Buyer shall be responsible for obtaining her own insurance and bears the expense

of such insurance. The Trustee has also agreed to pay, in aggregate, a total of $2,000.00 toward

any outstanding invoices relating to utilities or other maintenance related expenses invoiced to

maintain the Real Property prior to the closing date; if the outstanding invoices for utilities or other

maintenance related charges incurred prior to closing exceed the aggregate sum of $2,000.00, the

amount in excess of $2,000.00 is the responsibility of the Buyer.




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          15.      The bankruptcy estate is not represented by a real estate agent in this transaction,

and no commission will be paid. The bankruptcy estate may incur other standard closing costs in

finalizing this sale, costs which will be paid from the sale proceeds received by the bankruptcy

estate.

          16.      The Trustee requests that the order approving this sale be effectively immediately

pursuant to Fed. R. Bankr. P. 6004(h).

          17.      Pursuant to Local Rule 9013-2(c), the Trustee gives notice that he may, if

necessary, testify at the hearing regarding the proposed sale.

          WHEREFORE, the Trustee moves the court for an order as follows:

          1.       Authorizing the Trustee to sell the bankruptcy estate’s interest in the real property,

located at 20 North Fourth Street, 327 1st Avenue North and 28 North 4th Street, Minneapolis, MN

55401 and legally described as:

          Lots 10, 11, and 12, Auditor’s Subdivision No. 152, Hennepin County, Minnesota

along with additional assets relating to the Real Property as described in the commercial purchase

agreement between the Trustee and North Fourth Minneapolis, LLC, to North Fourth Minneapolis,

LLC for the sale price of $37,500;

          2.       Ordering that the trustee’s sale of the real property and assets is sold free and clear

of the following liens, claims, encumbrances and interests pursuant to 11 U.S.C. § 363(f):

                a. All rights, claims and interests of Mr. Roman Gadaskin arising out of original
                   Purchase Agreement dated March 29, 2018, and as agreed to by Addendum to
                   Commercial Purchase Agreement and Counter Offer dated April 26, 2018 and
                   Buyer executed as at April 30, 2018, as buyer of the Property, and;

                b. All rights, claims and interests of Common Ground Real Estate Investors, LLC and
                   3121 North Racine, LLC and Mr. Brandon Karow and Mr. Jeffrey A. Dow, arising
                   out of a purchase agreement dated August 2, 2018, for the portion of the Property

                                                     5
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               located at 20-22 North 4th Street, Minneapolis, MN 55401, legally described as Lot
               12, Auditor’s Subdivision No. 152, Hennepin County, Minnesota, Torrens
               Property, but not including 327 1st Avenue North.

        3.     Ordering that the transfer of the real property to North Fourth Minneapolis, LLC

constitutes a legal, valid and effective transfer, assignment, sale and conveyance of the bankruptcy

estate’s interest in the real property and assets described in the purchase agreement and shall vest

North Fourth Minneapolis, LLC with all right, title and interest in such acquired assets.

        4.     Authorizing the trustee to execute such documents as are necessary to finalize the

sale;

        5.     Authorizing the trustee to pay all standard closing costs necessary to complete the

transaction, including the state deed tax and up to $2,000 for any outstanding utility expenses

incurred prior to closing.

        6.     Ordering that the order approving the sale is effective immediately notwithstanding

Fed. R. Bankr. P. 6004(h); and

        7.     Any other relief the court deems appropriate.

                                                     FULLER, SEAVER & SWANSON, P.A.


Dated: September 10, 2019                         By__/e/ Matthew D. Swanson       ________
                                                     Matthew D. Swanson               390271
                                                     Fuller, Seaver & Swanson, P.A.
                                                     12400 Portland Ave. S., Suite 132
                                                     Burnsville, MN 55337
                                                     (952) 890-0888

                                                      Attorneys for the Trustee




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                                         VERIFICATION

        I, Randall L. Seaver, Trustee of the Bankruptcy Estate of the moving party named in the
foregoing Notice of Hearing and Motion for an Order Authorizing Sale of Assets Free and Clear
of Interests, declare under penalty of perjury that the foregoing is true and correct according to the
best of my knowledge, information and belief.


Dated: September 10, 2019                                     __/e/ Randall L. Seaver_______
                                                              Randall L. Seaver, Trustee




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                     UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MINNESOTA
______________________________________________________________________________
In re:
                                                               Case No. 17-41184
Ruby Red Dentata, LLC,                                         Chapter 7

            Debtor.
__________________________________________________________________________

                          UNSWORN CERTIFICATE OF SERVICE


         I hereby certify that on September 10, 2019, I caused the following documents:
         - Trustee Notice of Hearing and Amended Motion for Order Authorizing Sale of
         Property Free and Clear of Interests; and
         -Order (proposed)
to be filed electronically with the Clerk of Court through ECF, and that the above documents will
be delivered by automatic e-mail notification pursuant to ECF and this constitutes service or
notice pursuant to Local Rule 9006-1(a).

I also mailed a copy of the above documents to the following individuals via First Class U.S. Mail:

Harvest Bank                                         Kenneth Edstrom
c/o Jeffrey A. Peterson                              Sapientia Law Group
Gray, Plant, Mooty, Mooty & Bennett, P.A.            120 South 6th Street, Suite 100
1010 West St. Germain, Suite 500                     Minneapolis, MN 55402
St. Cloud, MN 56301

Saliterman & Siefferman, P.C.                        IRS District Director
600 South Hwy 169                                    Room 320 Stop 5700
Suite 1500                                           30 7th Street E #1222
Minneapolis MN 55426                                 St. Paul MN 55401

MN Dept of Revenue                                   Internal Revenue Service
551 Bankruptcy Section                               Centralized Insolvency Office
PO Box 64447                                         PO Box 7346
St. Paul MN 55164                                    Philadelphia PA 19101-7346

City of Minneapolis                                  Salamh Investment, Inc
250 S. Fourth St. Rm 230                             dba Happy Days Market
Minneapolis MN 55415-1321                            7367 Memory Lane
                                                     Minneapolis MN 55432
Sara L. Bruggeman
Hennepin County Attorney’s Office                    Roman Godaskin
A-2000 Government Center                             13112 Sunset Trail
300 South Sixth Street                               Minneapolis, MN 55441
Minneapolis, MN 55487-0200                           rlshome@comcast.net
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Common Ground Real Estate Investors, LLC         3121 N. Racine, LLC
Attn: Brandon Karow                              Attn: Jeffrey Dow
4852 Upton Ave. So.                              1743 W. School Street, No. 2
2nd Floor                                        Chicago, IL 60657
Minneapolis, MN 55410

Edina Realty                                     Arthur D. Walsh
c/o Jeffrey D. Klobucar                          329 Geneva Ave., No. 117
BASSFORD REMELE, P.A.                            Saint Paul, MN 55128
100 South Fifth Street, Suite 1500
Minneapolis, MN 55402
                                                 Asa-Azriel F. Rice
Toby B. Brill                                    Pot Brand, LLC
28 North 4th Street                              4041 3rd Ave. S.
Minneapolis, MN 55401                            Minneapolis, MN 55409

Sternberg Electric
Attn: Garth Sternberg                            Mulcahy Nickolaus, LLC
15246 Lake Drive NE                              Attn: Brian Mulcahy
Forest Lake, MN 55025                            2980 Granada Lane North, Suite 100
                                                 Oakdale, MN 55128

Common Ground Real Estate Investors, LLC         Asa-Azriel F. Rice
Attn: Brandon Karow                              Pot Brand, LLC
6201 N Breezy Drive                              1108 Kenwood Parkway, Apt. No. 6
Milton, WI 53563                                 Minneapolis, MN 55403

Sternberg Electric                               Sternberg Electric
Attn: Garth Sternberg                            Attn: Garth Sternberg
1915 Highway 36 W, Suite 7                       18900 Lexington Ave. NE
Roseville, MN 55113                              Wyoming, MN 55092


I further certify that I caused documents to be served by utilizing the services of BK Attorney
Services, LLC d/b/a/ certificateofservice.com, an Approved Bankruptcy Notice Provider
authorized by the United States Courts Administrative Office, pursuant to Fed.R.Bankr.P.
9001(9) and 2002(g)(4).

Dated: _September 10 , 2019                          __/e/ Matthew D. Swanson______
                                                     Matthew D. Swanson
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                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MINNESOTA

IN RE: RUBY RED DENTATA, LLC                                    CASE NO: 17-41184
                                                                DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7
                                                                Judge: William J. Fisher
                                                                Hearing Location: Courtroom 2B, U.S. Courthouse, 316 N. Robert
                                                                Street.
                                                                Hearing Date: October 1, 2019
                                                                Hearing Time: 11:00 a.m.
                                                                Response Date: September 27, 2019
On 9/10/2019, I did cause a copy of the following documents, described below,
Notice of Hearing and Amended Motion for an Order Authorizing the Sale of Property Free and Clear of Interests




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 9/10/2019
                                                          /s/ Matthew D. Swanson
                                                          Matthew D. Swanson 390271
                                                          mswanson@fssklaw.com
                                                          Fuller, Seaver & Swanson, P.A.
                                                          12400 Portland Ave. S., Suite 132
                                                          Burnsville, MN 55337
                                                          952 890 0922
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                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF MINNESOTA

 IN RE: RUBY RED DENTATA, LLC                                           CASE NO: 17-41184

                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 7
                                                                        Judge: William J. Fisher
                                                                        Hearing Location: Courtroom 2B, U.S. Courthouse, 316 N.
                                                                        Robert Street.
                                                                        Hearing Date: October 1, 2019
                                                                        Hearing Time: 11:00 a.m.
                                                                        Response Date: September 27, 2019

On 9/10/2019, a copy of the following documents, described below,

Notice of Hearing and Amended Motion for an Order Authorizing the Sale of Property Free and Clear of Interests




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 9/10/2019




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Matthew D. Swanson
                                                                            Fuller, Seaver & Swanson, P.A.
                                                                            12400 Portland Ave. S., Suite 132
                                                                            Burnsville, MN 55337
            Case 17-41184
PARTIES DESIGNATED              Doc NOT
                   AS "EXCLUDE" WERE 234SERVED
                                            Filed
                                                VIA09/10/19
                                                    USPS FIRST Entered
                                                               CLASS MAIL09/10/19 15:31:01     Desc Main
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                            Document       Page 17 of 20
CASE INFO                                COUNTY OF HENNEPIN                       EDINA REALTY
1LABEL MATRIX FOR LOCAL NOTICING         CO MICHAEL O FREEMAN                     14525 HIGHWAY 7
08644                                    HENNEPIN COUNTY ATTORNEY                 STE 245
CASE 17-41184                            2000 COURT TOWER - HCGC                  MINNETONKA MN 55345-3731
DISTRICT OF MINNESOTA                    MINNEAPOLIS MN 55487-0200
MINNEAPOLIS
TUE SEP 10 12-20-17 CDT 2019


                                         DEBTOR                                   EXCLUDE
HEIDI INVESTMENTS INC
7569 BLACKOAKS LANE NORTH                RUBY RED DENTATA LLC                     MINNEAPOLIS
MAPLE GROVE MN 55311-3724                5115 EXCELSIOR BLVD                      301 US COURTHOUSE
                                         NO 231                                   300 SOUTH FOURTH STREET
                                         MINNEAPOLIS MN 55416-2906                MINNEAPOLIS MN 55415-1320




ARTHUR D WALSH                           BEST FLANAGAN                            BEST FLANAGAN LLP
329 GENEVA AVE N                         MIKE GALESKI                             ATTN DANIEL A KAPLAN
STE 117                                  60 SOUTH SIXTH ST SUITE 2700             60 SOUTH SIXTH STREET SUITE 2700
ST PAUL MN 55128-6411                    MINNEAPOLIS MN 55402-4452                MINNEAPOLIS MN 55402-4690




CBRE INC                                 CENTERPOINT ENERGY                       CENTERPOINT ENERGY
PO BOX 15531 LOCATION                    PO BOX 1144                              PO BOX 4567
CODE 2071                                MINNEAPOLIS MN 55440-1144                HOUSTON TX 77210-4567
CHICAGO IL 6069




CENTURYLINK                              CITY OF MPLS WATER WORKS                 CENTERPOINT ENERGY
PO BOX 91154                             UTILITY BILLING                          PO BOX 4671
SEATTLE WA 98111-9254                    250 S 4TH ST ROOM 200                    HOUSTON TX 77210-4671
                                         MPLS MN 55415-1321




CITY OF MINNEAPOLIS                      D12 VENTURES LLC                         D12 VENTURES LLC
250 S FOURTH ST RM 230                   2900 WASHINGTON AVENUE NORTH             CO SAMUEL L STERN
MINNEAPOLIS MN 55415-1321                MINNEAPOLIS MN 55411-1630                2900 WASHINGTON AVENUE NORTH
                                                                                  MINNEAPOLIS MN 55411-1630




EDINA REALTY INC                         FREELAND BRIESE LLC                      HARVEST BANK
CO BASSFORD REMELE PA                    327 1ST AVENUE N                         ATTN KEITH MARKWARDT
100 SOUTH FIFTH STREET SUITE 1500        SUITE 200                                75 NORTH MAIN STREET
MINNEAPOLIS MN 55402-1254                MINNEAPOLIS MN 55401-1609                KIMBALL MN 55353-5401




HENNEPIN COUNTY                          INTERNAL REVENUE SERVICE                 KINGFIELD CONSTRUCTION PRODUCT
A600 GOVERNMENT CENTER                   PO BOX 7346                              20 NORTH 4TH STREET
300 S 6TH STREET                         PHILADELPHIA PA 19101-7346               SUITE 300 WEST
MINNEAPOLIS MN 55487-0999                                                         MINNEAPOLIS MN 55401-1712




MR ARTHUR D WALSH                        MS TOBY BRILL                            MITCHELL E SPARGUR
117 LAKEVIEW TERRACE                     5115 EXCELSIOR BOULEVARD                 CO SAMUEL L STERN
329 GENEVA AVENUE NO                     NO 231                                   2900 WASHINGTON AVENUE NORTH
ST PAUL MN 55128-6409                    MINNEAPOLIS MN 55416-2906                MINNEAPOLIS MN 55411-1630
            Case 17-41184
PARTIES DESIGNATED              Doc NOT
                   AS "EXCLUDE" WERE 234SERVED
                                            Filed
                                                VIA09/10/19
                                                    USPS FIRST Entered
                                                               CLASS MAIL09/10/19 15:31:01     Desc Main
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                            Document       Page 18 of 20
MR ARTHUR D WALSH                        PLOT BRAND LLC                           PLOT BRAND LLC
117 LAKEVIEW TERRACE                     1022 S HIGHLAND AVE                      4041 3RD AVE SO
329 GENEVA AVENUE N                      LOS ANGELES CA 90019-1748                MINNEAPOLIS MN 55409-1610
SAINT PAUL MN 55128-6409




S STEVEN PRINCE                          STEVEN B NOSEK PA                        SALAMH INVESTMENT INC
825 NICOLLET MALL                        2855 ANTHONY LN SOUTH 201                DBA HAPPY DAYS MARKET
SUITE 1648                               ST ANTHONY MN 55418-2637                 7367 MEMORY LANE
MINNEAPOLIS MN 55402-2705                                                         MINNEAPOLIS MN 55432-3218




SALITERMAN SIEFFERMAN PC                 SAMUEL L STERN                           SCHAFER RICHARDSON INC
600 SOUTH HWY 169                        BRIDGE LAW GROUP LTD                     900 N 3RD STREET
SUITE 1500                               2900 WASHINGTON AVE N                    MINNEAPOLIS MN 55401-1017
MINNEAPOLIS MN 55426-1230                MINNEAPOLIS MN 55411-1630




SCHAFER RICHARDSON INC                   SCHAFER RICHARDSON INC                   TOBY B BRILL
900 NORTH THIRD STREET                   901 N 3RD STREET                         28 NORTH 4TH STREET
MINNEAPOLIS MN 55401-1017                SUITE 218                                MINNEAPOLIS MN 55401-1712
                                         MINNEAPOLIS MN 55401-1051




US TRUSTEE                               US TRUSTEE                               XCEL ENERGY
300 SOUTH FOURTH ST                      1015 US COURTHOUSE                       414 NICOLLET MALL
SUITE 1015                               300 S 4TH ST                             MINNEAPOLIS MN 55401-1993
MINNEAPOLIS MN 55415-3070                MINNEAPOLIS MN 55415-3070




XCEL ENERGY                              XCEL ENERGY NORTH                        ARTHUR D WALSH
PO BOX 9477                              BY AMERICAN INFOSOURCE AS AGENT          329 GENEVA AVE N 117
MINNEAPOLIS MN 55484-9477                PO BOX 268872                            ST PAUL MN 55128-6411
                                         OKLAHOMA CITY OK 73126-8872




ROMAN GADASKIN                           RANDALL L SEAVER                         STEVEN B NOSEK
13112 SUNSET TRAIL                       12400 PORTLAND AVENUE SOUTH              STEVEN NOSEK PA
PLYMOUTH MN 55441-5516                   SUITE 132                                2855 ANTHONY LN S
                                         BURNSVILLE MN 55337-6805                 STE 201
                                                                                  ST ANTHONY MN 55418-2637




YVONNE R DOOSE
STEVEN B NOSEK P A
2855 ANTHONY LN S
STE 201
ST ANTHONY MN 55418-2637
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                      UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MINNESOTA
______________________________________________________________________________
In re:                                                        BKY No. 17-41184
                                                                  Chapter 7 Case
Ruby Red Dentata, LLC

               Debtor.


                                              ORDER


       This case is before the court on the trustee’s motion for an order authorizing the sale of

bankruptcy estate property free and clear of interests pursuant to 11 U.S.C. § 363.

       Appearances, if any, were noted upon the record.

       Upon the motion and the files,

       IT IS ORDERED:

       1.      The trustee is authorized to sell the bankruptcy estate’s interest in the real property,

located at 20 North Fourth Street, 327 1st Avenue North and 28 North 4th Street, Minneapolis, MN

55401 and legally described as:

       Lots 10, 11, and 12, Auditor’s Subdivision No. 152, Hennepin County, Minnesota

(the “Property”) along with additional assets relating to the Property as described in the

commercial purchase agreement between the trustee and North Fourth Minneapolis, LLC, to North

Fourth Minneapolis, LLC for the sale price of $37,500;

       2.      The sale of the Property and assets is free and clear of the following liens, claims,

encumbrances and interests pursuant to 11 U.S.C. § 363(f):

            a. All rights, claims and interests of Mr. Roman Gadaskin arising out of original
               Purchase Agreement dated March 29, 2018, and as agreed to by Addendum to
               Commercial Purchase Agreement and Counter Offer dated April 26, 2018 and
               Buyer executed as at April 30, 2018, as buyer of the Property, and;
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              b. All rights, claims and interests of Common Ground Real Estate Investors, LLC and
                 3121 North Racine, LLC and Mr. Brandon Karow and Mr. Jeffrey A. Dow, arising
                 out of a purchase agreement dated August 2, 2018, for the portion of the Property
                 located at 20-22 North 4th Street, Minneapolis, MN 55401, legally described as Lot
                 12, Auditor’s Subdivision No. 152, Hennepin County, Minnesota, Torrens
                 Property, but not including 327 1st Avenue North.

         3.      Sale of the Property to North Fourth Minneapolis, LLC constitutes a legal, valid

and effective transfer, assignment, sale and conveyance of the bankruptcy estate’s interest in the

Property and assets described in the commercial purchase agreement and shall vest North Fourth

Minneapolis, LLC with all right, title and interest in such acquired assets.

         4.      The trustee is authorized to execute such documents as are necessary to finalize the

sale.

         5.      The trustee is authorized to pay all standard closing costs necessary to complete the

transaction, including the state deed tax and up to $2,000 for any outstanding utility expenses

incurred prior to closing.

         6.      This Order is effective immediately notwithstanding Fed. R. Bankr. P. 6004(h).




Dated:                                                 ___________________________________
                                                       William J. Fisher
                                                       United States Bankruptcy Judge




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